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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

IN RE:                                             )       Chapter 11
                                                   )
EASTERN LIVESTOCK CO., LLC                         )       Case No. 10-93904-BHL-11
                                                   )
                       Debtor.                     )       Hon. Basil H. Lorch III

TRUSTEE'S MOTION TO EXTEND DEADLINE FOR FILING DEBTOR'S CREDITOR
    MATRIX, STATEMENT AND SCHEDULES PURSUANT TO §§ 105(a), 521,
                    AND FED. R. BANKR. P. 1007(c)

               James A. Knauer, the chapter 11 trustee appointed in this case ("Trustee"), by

counsel, hereby files this motion ("Schedules Extension Motion") for entry of an order extending

the date by which the Trustee must file a creditor matrix, the Statement of Financial Affairs and

Schedules of Assets and Liabilities (collectively, "Statement and Schedules") on behalf of

Eastern Livestock Co., LLC ("Debtor") pursuant to 11 U.S.C. § 521 and Rule 1007(c) of the

Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules"). The proposed form of the order

("Order") granting this Schedules Extension Motion is attached hereto as Exhibit A.

                                         JURISDICTION

               1.      Certain petitioning creditors commenced the above-captioned chapter 11

case ("Chapter 11 Case") against Debtor on December 6, 2010 ("Petition Date") by filing an

involuntary petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C.

§§ 101 et seq. ("Bankruptcy Code"). This Court entered the Order For Relief In An Involuntary

Case And Order To Complete Filing [Docket #110] ("Order for Relief") on December 28, 2010.

The Order for Relief requires Trustee to file a listing of Debtor's creditors on or before January 4,

2011 and all other documents comprising the Statement and Schedules on or before January 11,

2011.
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                2.     On December 27, 2010, the Court entered the Order Approving The

Appointment Of James A. Knauer As Chapter 11 Trustee [Docket #102] ("Trustee Order"),

approving the United States Trustee's Notice Of Appointment And Application For Order

Approving Appointment of Trustee [Docket #98] pursuant to 11 U.S.C. § 1104.

                3.     This Court has jurisdiction to consider this Schedules Extension Motion

pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b)(2)(A). Venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409.

                4.     The statutory bases for the relief sought herein are §§ 105(a) and 521 of

the Bankruptcy Code.

                                         BACKGROUND

                5.     The Debtor is one of the largest cattle brokerage companies in the United

States, with operations and assets located in at least eleven states. Debtor generated revenue

through the purchase and sale of cattle at auctions throughout the country, both on its own behalf

and as broker for others. Additional background information on the Debtor may be found in the

pleadings filed by the initial petitioning creditors in this Chapter 11 Case.

                                     RELIEF REQUESTED

                A.     Summary of Relief

                6.     Pursuant to Fed. R. Bankr. P. 1007(c), the current date by which the

Debtor is obligated to file its Statement and Schedules is January 11, 2011 ("Schedule

Deadline"). The Trustee seeks an extension of the Schedule Deadline for thirty (30) days up

through and including February 10, 2011, thus extending the period of time provided under Fed.

R. Bankr. P. 1007(c), to file the Statement and Schedules.




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                B.     Basis for Relief

                7.     The Trustee is in the process of assembling the information necessary to

complete the Debtor's Statement and Schedules. Debtor's filing occurred on an involuntary basis

and the Trustee needs more time to complete the Statement and Schedules as accurately and

completely as possible.

                8.     Given the fact that the Trustee is still in the process of locating Debtor's

books and records, to the extent they continue to exist, the Trustee has not had the opportunity to

review and/or prepare the Debtor's Statement and Schedules. The Trustee may need to obtain

books and records from non-Debtor third parties in order to accurately complete the Statement

and Schedules and believes that the current deadlines will not allow for sufficient time to

complete the Statement and Schedules. No meeting of creditors has yet been set in this Chapter

11 Case.

                                     NO PRIOR REQUEST

                9.     No previous request for the relief requested herein has been made to this

Court in this Chapter 11 Case.

                WHEREFORE, the Trustee respectfully requests that the Court enter an Order

(a) extending the Schedule Deadline for thirty (30) days up through and including February 10,

2011 by which the Trustee will file Debtor's Statement and Schedules, and (b) granting such

other and further relief as the Court deems appropriate.




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                                                 Respectfully submitted,

                                                 BAKER & DANIELS LLP


                                                   By:     /s/ Terry E. Hall

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2011, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent to the following parties through the Court's
Electronic Case Filing System. Parties may access this filing through the Court's system.
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